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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:19-cv-02357-REB-KLM

  PATRICK MCGUIRE,

       Plaintiff,

  v.

  AARGON AGENCY, INC.,

       Defendant.


                                  FIRST AMENDED COMPLAINT


           NOW COMES Plaintiff, PATRICK MCGUIRE, through counsel, SULAIMAN LAW

  GROUP, LTD., complaining of Defendant, AARGON AGENCY, INC., as follows:

                                     NATURE OF THE ACTION

           1.       This is an action brought by a consumer seeking redress for alleged

  violation(s) of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

           2.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

           3.       Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                              PARTIES

           4.       PATRICK MCGUIRE (“Plaintiff”) is a natural person, over 18-years-of-age,

  who at all times relevant resided at 1144 Monroe Street, Denver, Colorado 80206.

           5.       Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

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         6.      AARGON AGENCY, INC. (“Aargon”) is a foreign corporation with its

  principal place of business located at 8668 Spring Mountain Road, Las Vegas, Nevada

  89117.

         7.      Aargon is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

         8.      Aargon is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as the

  principal purpose of Defendant’s business is the collection of debt.

         9.      Aargon is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it

  regularly collects or attempts to collect debts owed or due or asserted to be owed or due

  another.

                                 FACTUAL ALLEGATIONS

         10.     On July 14, 2018, Denver Health & Hospital Authority rendered medical

  services to Plaintiff.

         11.     Plaintiff agreed to be financially responsible to Denver Health & Hospital

  Authority.

         12.     Said agreement specified:

                 DELINQUENT ACCOUNTS: *** Interest on delinquent balances will
                 be charged at the lower of 12% per annum or the highest rate
                 allowed by law.

         13.     These services generated certain bills.

         14.     Those bills, once unpaid, were turned over to Aargon.

         15.     Those bills are a “debt” as defined by 15 U.S.C. § 1692a(5) as they relate

  to an unpaid obligation to pay money arising out of a transaction in which the medical


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  services which are the subject of the transaction are primarily for personal, family, or

  household purposes.

         16.    On February 25, 2019, Aargon sent an initial written correspondence (the

  “February 25th Letter”) in an attempt to obtain payment on behalf of Denver Health &

  Hospital Facility.

         17.    The February 25th Letter stated:

                Your overdue account with Denver Health & Hospital Facility has
                been placed with this office for collection.

                ***

                As of the date of this letter, you owe the total due listed above.
                Because of the interest that may vary from day to day the amount
                due on the day you pay may be greater.

  (emphasis added).

         18.    The February 25th Letter is a “communication” as defined by 15 U.S.C. §

  1692a(2).

         19.    The February 25th Letter conveyed information regarding Plaintiff’s

  delinquent obligation to Denver Health & Hospital Facility.

         20.    On July 3, 2019, Aargon sent another written correspondence (the “July 3rd

  Letter”) in an attempt to obtain payment on behalf of Denver Health & Hospital Facility.

         21.    The July 3rd, 2019 Letter stated:

                                  DELINQUENT ACCOUNT
                        Amount Owed:                $1,738.40
                        Interest Accrued:               $0.00
                        Your Payments:             - $300.00
                        Total Balance Due:          $1,738.40

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         22.     The July 9th Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

         23.     The July 9th Letter conveyed information regarding Plaintiff’s delinquent

  obligation to Denver Health & Hospital Facility.

         24.     Aargon’s representations caused Plaintiff to question whether Plaintiff’s

  $300.00 in payments were properly applied to Plaintiff’s outstanding obligation.

         25.     Concerned with having had his rights violated, Plaintiff sought counsel to

  ensure that Aargon’s unlawful collection practices stopped.

                                    CLAIMS FOR RELIEF

                                         COUNT I:
                Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

         26.     All paragraphs of this Complaint are expressly adopted and incorporated

  herein as though fully set forth herein.

                              Violation(s) of 15 U.S.C. § 1692e

         27.     Section 1692e provides:

         A debt collector may not use any false, deceptive, or misleading
         representations or means in connection with the collection of any debt.
         Without limiting the general application of the foregoing, the following
         conduct is a violation of this section:

         (10)    The use of any false representation or deceptive means to collect or
                 attempt to collect any debt or to obtain information concerning a
                 consumer.

  15 U.S.C. § 1692e(10).

         28.     On February 25, 2019, Aargon violated 15 U.S.C. § 1692e(10) by falsely

  representing that interest will vary from day to day when interest is fixed at 12% annually.

         29.     By initially stating “Amount Owed: $1,738.40” then “Your Payments: -
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  $300.00” before “Total Balance Due: $1,738.40,”

         30.    On July 3, 2019, Aargon further violated 15 U.S.C. § 1692e(10) by stating:

                                   DELINQUENT ACCOUNT
                         Amount Owed:                $1,738.40
                         Interest Accrued:               $0.00
                         Your Payments:             - $300.00
                         Total Balance Due:          $1,738.40

  in that Plaintiff was confused and questioned whether Plaintiff’s Total Balance Due should

  be reduced by $300.00. Plaintiff was confused and questioned (1) whether Plaintiff’s

  previous $300.00 payments were properly applied; and (2) whether Plaintiff’s “Total

  Balance Due” should be reduced by $300.00.

         30.    Although the word “confusing” does not appear in section 1692e, courts

  have “interpreted the FDCPA to prohibit confusing presentations.” See O’Boyle v. Real

  Time Resolutions, Inc., 910 F.3d 338, 343 (7th Cir. 2018). Under this standard, a letter

  might be literally true, but still be misleading or confusing. Id at 344.

         31.    Plaintiff may enforce the provisions of 15 U.S.C. § 1692e(10) pursuant to

  section k of the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails

  to comply with any provision of [the FDCPA] with respect to any person is liable to such

  person in an amount equal to the sum of -

         (1)    any actual damage sustained by such person as a result of such
                failure;

         (2)

                (A)    in the case of any action by an individual, such additional
                       damages as the court may allow, but not exceeding
                       $1,000.00; or

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         (3)     in the case of any successful action to enforce the foregoing liability,
                 the costs of the action, together with reasonable attorney's fees as
                 determined by the court.

         WHEREFORE, Plaintiff requests the following relief:

         A.      a finding that Aargon violated 15 U.S.C. § 1692e(10);

         B.      an award of any actual damages sustained by Plaintiff as a result of

                 Aargon’s violation(s);

         C.      an award of such additional damages, as the Court may allow, but not

                 exceeding $1,000.00;

         D.      an award of costs of this action, together with reasonable attorney’s fees as

                 determined by this Court; and

         E.      an award of such other relief as this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all

  issues in this action so triable of right.

  DATED: January 31, 2020                                   Respectfully submitted,

                                                            PATRICK MCGUIRE

                                                            By: /s/ Joseph S. Davidson

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